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8                               IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                    )       2:19-MJ-00147-KJN
                                                  )
12                 Plaintiff,                     )       STIPULATION AND ORDER
                                                  )       CONTINUING PRELIMINARY
13      v.                                        )       HEARING DATE
                                                  )
14   TIMOTHY CHARLES WILSON,                      )
                                                  )       Judge: Hon. Allison Claire
15                 Defendant.                     )
                                                  )
16                                                )
                                                  )
17

18                                         STIPULATION

19           The United States, by and through its undersigned counsel, and the defendant, by
20   and through his counsel of record, hereby stipulate as follows:
21      1. By prior order, this matter was set for Preliminary Hearing on September 12, 2019.
22      2. By this Stipulation, the parties now move to continue the Preliminary Hearing until
23           September 13, 2019, at 2:00 p.m.
24      3. The defendant was brought into federal custody on August 30, 2019, and made his
25           initial appearance on September 3, 2019.
26      4. The defendant was released on an unsecured bond on September 4, 2019, pending
27           trial in this matter.
28      5. Good cause exists under Rule 5.1(d) of the Federal Rules of Criminal Procedure.


     Stipulation to Continue P/H                      1                         United States v. Wilson
              Case 2:19-cr-00159-DAD Document 13 Filed 09/11/19 Page 2 of 3


1    IT IS SO STIPULATED.

2

3    DATED: September 10, 2019            /s/ Adrian T. Kinsella
                                         ADRIAN T. KINSELLA
4                                        Assistant U.S. Attorney
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6    DATED: September 10, 2019             /s/ Shari G. Rusk
                                         SHARI G. RUSK
7
                                         Attorney for Timothy Charles Wilson
8                                        (as authorized on September 10, 2019)

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     Stipulation to Continue P/H               2                      United States v. Wilson
              Case 2:19-cr-00159-DAD Document 13 Filed 09/11/19 Page 3 of 3


1

2                                           ORDER

3           IT IS SO FOUND AND ORDERED, this 10th day of September 2019.

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     Order to Continue P/H                     3                    United States v. Wilson.
